Case 1:21-cv-02232-REB-GPG Document 40 Filed 06/29/22 USDC Colorado Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:21-cv-02232-REB-GPG

  HDN CONDO ASSOCIATION INC. DAN ROTH,

  Plaintiff,

  v.

  WEST AMERICAN INSURANCE COMPANY,

  Defendant.


                                       NOTICE OF SETTLEMENT


           Defendant, West American Insurance Company, by and through its undersigned counsel,

  with the consent of counsel for Plaintiff, hereby submits this Notice of Settlement as follows:

           1.     The parties have reached a settlement in the above-captioned case.

           2.     It is anticipated that settlement documents will be finalized and appropriate

  dismissal papers filed with the Court on or before July 25, 2022.

           Respectfully submitted this 29th day of June, 2022.

                                                LEWIS ROCA ROTHGERBER CHRISTIE LLP

                                                s/ Jon M. Ludwig
                                                Brian J. Spano, Esq.
                                                Holly C. White, Esq.
                                                Jon M. Ludwig, Esq.
                                                1601 19th Street., Suite 1000
                                                Denver, CO 80202
                                                Tel.: 303.623.9000
                                                Email: hwhite@lrrc.com
                                                          jludwig@lrrc.com
                                                Attorneys for Defendant
                                                West American Insurance Company
  118058671.1
Case 1:21-cv-02232-REB-GPG Document 40 Filed 06/29/22 USDC Colorado Page 2 of 2




                                CERTIFICATE OF SERVICE

         I hereby certify that on this 29th day of July, 2022, a true and correct copy of the
  foregoing NOTICE OF SETTLEMENT was filed via the CM/ECF system which caused it to
  be served upon the following:

  Gary S. Engle Esq.
  Brent Demmitt, Esp.
  SHARP, SHERMAN & ENGLE LLC
  PO Box 774608/401 Lincoln Avenue
  Steamboat springs, CO 80477
  Telephone: (970) 879-7600
  Email: engle@steamboatlawfirm.com
         demmitt@steamboatlawfirm.com

  Attorneys for Plaintiff HDN Condo Assoc.




                                                    s/ Jon M. Ludwig
                                                    Jon M. Ludwig, Esq.




                                               2
  118058671.1
